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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

TYRONE CADE,                               §
                   Petitioner,             §
                                           §
v.                                         § Civil Action No. 3:17-CV-03396-G
                                           §
BOBBY LUMPKIN, Director,                   §       DEATH PENALTY CASE
Texas Department of Criminal               §
Justice, Correctional Institutions         §
Division,                                  §
                  Respondent.              §

         RESPONDENT’S OPPOSED1 MOTION FOR LEAVE TO
                   SUPPLEMENT ANSWER

      This is a federal habeas proceeding initiated by Texas death row inmate

Tyrone Cade. See 28 U.S.C. §§ 2241, 2254. Respondent Bobby Lumpkin (the

Director) filed his Answer to Cade’s Second Amended Petition (ECF No. 127)

on March 8, 2022. ECF No. 132. The Director seeks leave to file a Supplement

to his Answer to address the Supreme Court’s recent decision in Shinn v.

Martinez Ramirez, 142 S. Ct. 1718 (May 23, 2022), which will greatly assist

this Court in determining that Cade is not entitled to relief on several of his

claims of ineffective assistance of counsel. The Director therefore requests




1 On June 15, undersigned counsel conferred with opposing counsel regarding
whether the petitioner opposes this motion for leave. Based on that conversation,
undersigned counsel believes the petitioner is opposed, but undersigned counsel has
not been able to confirm the petitioner’s position prior to the filing of this motion.
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leave pursuant to Federal Rule of Civil Procedure Rule 15(d) to file a

Supplement to Respondent’s Answer, which is attached hereto as Exhibit A.

                               CONCLUSION

      For the foregoing reasons, the Director moves this Court for leave to file

a Supplement to Respondent’s Answer in this federal writ of habeas corpus

action.

                                    Respectfully submitted,

                                    KEN PAXTON
                                    Attorney General of Texas

                                    BRENT WEBSTER
                                    First Assistant Attorney General

                                    JOSH RENO
                                    Deputy Attorney General
                                    for Criminal Justice

                                    EDWARD L. MARSHALL
                                    Assistant Attorney General
                                    Chief, Criminal Appeals Division

                                    s/ Cara Hanna                  *
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                                    ATTORNEYS FOR RESPONDENT




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                    CERTIFICATE OF CONFERENCE

      On June 15, 2022, the undersigned conferred with counsel for Cade but

has not been able to confirm whether the petitioner is opposed to this motion

for leave.

                                     s/ Cara Hanna
                                     CARA HANNA
                                     Assistant Attorney General


                       CERTIFICATE OF SERVICE

      I hereby certify that on June 21, 2022, I electronically filed the foregoing

document with the clerk of the court for the U.S. District Court, Northern

District of Texas, using the electronic case filing system. The electronic case

filing system sent a “Notice of Electronic Filing” to lead counsel, who has

consented in writing to accept this Notice as service of this document by

electronic means:


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                                        s/ Cara Hanna
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